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                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
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    UNITED STATES OF AMERICA

    v.                                                    Case No. 3:06-cr-13-J-20MMH

    RICHARD CASALI


                                           ORDER

          The United States' Motion Pursuant to USSG 6 3El.l(b) (Doc. No. 114, filed August 9,
I
    2006) is GRANTED.

           DONE AND ORDERED at Jacksonville, Florida, this i/(/day        of August, 2006.
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    Copies to:
    Kate Krniec, Esq.
    Thomas Fallis, Esq.
    U.S. Probation
